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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               11/6/2020
                                                                       :
MALKA STEINBERG,                                                       :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-cv-11136 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
EXPERIAN INFORMATION SOLUTIONS, INC. AND :
AMERICAN EXPRESS COMPANY,                                              :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        This action was initiated by Complaint on December 4, 2019. Defendant American

Express Company (“American Express”) is now the sole defendant in this action after the Court

so-ordered a stipulation of dismissal between Plaintiff and Experian Information Solutions, Inc.

Dkt. No. 27. On May 18, 2020, the Court so-ordered a joint stipulation between Plaintiff and

American Express to arbitrate Plaintiff’s claims and stay the action with respect to American

Express only. Dkt. No. 23.

        It is hereby ORDERED that Plaintiff and American Express shall file a joint letter on the

status of the arbitration by December 1, 2020.


        SO ORDERED.


Dated: November 6, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
